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UNITED STATES OF AMERICA,
           v.                        CRIMINAL NO. 2010-10288-MLW
TIMOTHY MOYNIHAN,
         Defendant.


              MEMORANDUM
         AND ORDER OF DETENTION
       PURSUANT TO 18 U.S.C. § 3142(e)

COLLINGS, U.S.M.J.
      Timothy Moynihan (“Moynihan” or “the defendant”) appeared on June
10, 2010 with counsel for a detention hearing. He is charged, inter alia, with
distributing cocaine base” in violation of 21 U.S.C. § 841(a)(1).
      The purpose of a detention hearing is as stated in the statute - i.e., "...to
determine whether any condition or combination of conditions...(of release)
will reasonably assure the appearance of such person as required and the safety
of any other person and the community...". Title 18 U.S.C. § 3142(f).
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      It is important to note that the statute, 18 U.S.C. § 3142(e), contains a
presumption which is applicable to the case at bar. The statute provides, in
pertinent part:
         Subject to rebuttal by the person, it shall be presumed
         that no condition or combination of conditions will
         reasonably assure the appearance of the person as
         required and the safety of the community if the judicial
         officer finds that there is probable cause to believe that
         the person committed an offense for which a maximum
         term of imprisonment of ten years or more is prescribed
         in the Controlled Substances Act (21 U.S.C. 801 et seq.),
         the Controlled Substances Import and Export Act (21
         U.S.C. 951 et seq.), or chapter 705 of title 46, an offense
         under section 924(c), 956(a), or 2332b of this title...
Emphasis supplied.
    The defendant is charged in the Indictment with a violation of the
Controlled Substances Act (21 U.S.C. § 801 et seq.) which carries a maximum
sentences of ten years or more imprisonment. Thus, it is presumed in the
instant case that no condition or combination of conditions of release will
reasonably assure the appearance of the defendant as required and the safety
of the community if I find that there is probable cause to believe that the
defendant committed the offense charged in the Indictment. Although this
presumption does not shift the burden of persuasion to the defendant, it does

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place a burden of production on the defendant, and even if evidence to meet
that burden is produced, the presumption does not disappear. The Court is
permitted to incorporate into the calculus Congress's judgment that defendants
who have probably committed serious drug felonies are dangerous and pose
particularly great risks of flight. United States v. Palmer-Contreras, 835 F.2d 15,
17-18 (1 Cir., 1987); United States v. Jessup, 757 F.2d 378, 380-386 (l Cir.,
l985).
     The first issue then is whether there is probable cause to believe that the
defendant committed the offense with which he is charged. . The return of an
indictment is sufficient to fulfill the probable cause prerequisite for the
presumption's operation. United States v. Vargas, 804 F.2d 157, 163 (1 Cir.,
1986).
     The second issue is whether the defendant has met his burden of
production. I find that he has not.
     As the First Circuit has stated, “the presumption serves to shift the burden
of production and to require that the defendant introduce ‘some evidence’ to
the contrary.”   O’Brien,   895 F.2d at 815 quoting    Jessup,   757 F.2d at 381
(emphasis added). In the instant case, the defendant has failed to meet his

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burden of production. Therefore, he will be detained on the basis of the
presumption.
    Accordingly, pursuant to 18 U.S.C. § 3142(e), it is ORDERED that the
defendant be, and he hereby is, DETAINED pending trial of the charge
contained in the above-styled Indictment. Pursuant to 18 U.S.C. § 3142(e), the
written findings of fact and a written statement of reasons for the detention are
contained       . Further pursuant to 18 U.S.C. § 3142(i), it is ORDERED that:
            supra



             (l) The defendant be, and he hereby is, committed to
             the custody of the Attorney General for confinement in
             a corrections facility, separate, to the extent
             practicable, from persons awaiting or serving sentences
             or being held in custody pending appeal;
             (2) The defendant be afforded reasonable opportunity
             for private consultation with his counsel; and
             (3) On Order of a court of the United States or on
             request of an attorney for the Government, the person
             in charge of the corrections facility in which the
             defendant is confined deliver the defendant to an
             authorized Deputy U. S. Marshal for the purpose of any
             appearance in connection with a court proceeding.
    Review of the within Detention Order may be had by the defendant filing
a motion for revocation or amendment of the within Order pursuant to 18
U.S.C. § 3145(b).


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                                       /s/ Robert B. Collings
                                       ROBERT B. COLLINGS
                                       United States Magistrate Judge
September 22, 2010.




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